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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA                                Case No. 18 Cr. 00204-NGG

                                                         NOTICE OF MOTION
    - v. -
                                                         ORAL ARGUMENT REQUESTED

 KEITH RANIERE, CLARE BRONFMAN,
 ALLISON MACK, KATHY RUSSELL,
 and LAUREN SALZMAN,
                                                         Submitted on March 22, 2019
                               Defendants.



        PLEASE TAKE NOTICE that the undersigned attorney, Marc Agnifilo, for the

 Defendant, KEITH RANIERE, will move the Honorable Nicholas G. Garaufis, United States

 District Judge for the Eastern District of New York, for an order granting the following relief:

        1. Motion to keep the current trial schedule of April 8, 2019 for jury selection and April
           29, 2019 for opening statements, with parties exchanging case-in-chief trial exhibits
           and witness lists on April 7, 2019;

        2. Motion to Dismiss the Indictment for lack of venue and to dismiss the recently added
           racketeering acts (as well as joining in co-defendants Bronfman, Allison Mack and
           Lauren Salzman’s respective motions);

        3. Motion for a Bill of Particulars (as well as joining co-defendant Bronfman’s respective
           motions);

        4. Motion to preclude the government’s proposed experts;

        5. Motion to Obtain Testimony from Foreign Witnesses, or in the alternative, take Rule
           15 Depositions pursuant to Fed. R. Crim. Proc. 15.

        These motions are based on this Notice of Motion and the accompanying Memorandum of

 Law in Support of Raniere’s Motions, and the above-referenced motions on which Raniere is
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 joining. Raniere respectfully requests oral argument at the status conference currently scheduled

 for April 4, 2019, on these motions.

 Dated:         March 22, 2019
                New York, NY
                                                             Respectfully submitted,



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                                                             Attorneys for Defendant
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